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                   16                       UNITED STATES DISTRICT COURT
                   17                      CENTRAL DISTRICT OF CALIFORNIA

                   18   ABDIRAHMAN ADEN KARIYE,                     Case No. 2:22-cv-01916-FWS-GJS
                        MOHAMAD MOUSLLI, and
                   19   HAMEEM SHAH,                                PLAINTIFFS’ REPLY IN SUPPORT OF
                                                                    MOTION TO COMPEL RE: LAW
                   20                   Plaintiffs,                 ENFORCEMENT PRIVILEGE
                   21         v.                                    Judge: Hon. Gail J. Standish
                                                                    Trial Date: November 3, 2026
                   22   KRISTI NOEM, Secretary of the U.S.          Date Action Filed: March 24, 2022
                        Department of Homeland Security, in
                   23   her official capacity, et al.,
                   24                   Defendants.
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ATTORNEYS AT LAW                                                            PLS’ REPLY ISO MOTION TO COMPEL RE
   PALO ALTO                                                                       LAW ENFORCEMENT PRIVILEGE;
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                    1             Defendants’ opposition confirms that the law enforcement privilege should not
                    2   be used to withhold information from Plaintiffs. Defendants fail to meaningfully
                    3   account for the parties’ Protective Order, which addresses the exact concerns
                    4   Defendants now raise in invoking the privilege. Defendants’ attempts to justify the
                    5   privilege rest on unfounded arguments and inadequate declarations. The Court should
                    6   find Defendants’ withholdings and objections on the basis of the privilege improper.
                    7       I.       The Court should not recognize the law enforcement privilege.
                    8             Defendants rely primarily on out-of-circuit cases to argue that the law
                    9   enforcement privilege has been broadly recognized. Opp. 4–6, ECF No. 133. But
                   10   critically, the Ninth Circuit has not recognized it. Mot. 6–7, ECF No. 118-1.1 Nor did
                   11   Defendants substantively address this Court’s decision rejecting the privilege. Opp.
                   12   5 (citing United States v. Rodriguez-Landa, 2019 WL 653853 (C.D. Cal. Feb. 13,
                   13   2019)). The Court should likewise decline to recognize the privilege.
                   14       II.      The Protective Order supports rejection of the privilege.
                   15             Defendants do not dispute that the information they seek to withhold under the
                   16   law enforcement privilege is the exact information protected by the Protective Order.
                   17   Instead, Defendants argue that the Protective Order covers only “non-privileged,”
                   18   i.e., non-law enforcement privileged, information. But that makes no sense. The
                   19   Protective Order defines “non-privileged” information with the same language that
                   20   Defendants’ cases use to describe purportedly privileged information. Compare ECF
                   21   No. 53, Protective Order § B.d (privilege includes “law enforcement activities and
                   22   operations”), with United States v. Matish, 193 F. Supp. 3d 585, 597 (E.D. Va. 2016)
                   23   (privilege includes “law enforcement techniques and procedures”).
                   24             Defendants rely on In re City of New York, 607 F.3d 923, 936 (2d Cir. 2010)
                   25   to argue that privileged law enforcement information is “ill-suited for disclosure”
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                        1
                   27     See also United States v. O’Neill, 619 F.2d 222, 229 (3d Cir. 1980) (observing
                        that no Supreme Court decision supports the privilege, and Congress explicitly
                   28   rejected a proposed rule like the privilege).
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                    1   under the Protective Order, Opp. 6, but that case involved a dramatically different set
                    2   of facts. There, over fifty plaintiffs’ attorneys had access to information produced in
                    3   discovery. Following a leak, the court allowed defendants to withhold information
                    4   as privileged, despite a protective order, based on the likelihood that an additional
                    5   leak would occur. Here, Defendants have alleged no such prior misconduct, and far
                    6   fewer attorneys would have access to the material. Another of Defendants’ cases,
                    7   Garcia v. City of Garden Grove, 2016 WL 9107424 (C.D. Cal. Oct. 26, 2016),
                    8   actually credits a protective order in ruling against the application of the privilege.
                    9   Id. at *4. As Plaintiffs have explained, this Court routinely rejects application of the
                   10   privilege based on protective orders. See Mot. 8 (collecting cases). The Court should
                   11   do so here. And if there were any doubt about whether the Protective Order obviates
                   12   the need to apply the privilege, Plaintiffs would be willing to amend the Protective
                   13   Order to establish an “Attorneys’ Eyes Only” category of protected information.
                   14      III.   Defendants’ declarations fail to support the privilege.
                   15         Defendants attempt to assert the privilege based on two inadequate
                   16   declarations. But neither declaration even mentions, let alone addresses, Defendants’
                   17   invocation of the privilege to refuse or limit responses to Plaintiffs’ ROGs 2-6, 8-10,
                   18   13-14, 16-18, 21, 23, 25, and to object to Plaintiffs’ RFPs 1-15, 18-19, 22-25, 27-28.
                   19   For that reason alone, the Court should reject the privilege as a basis for these
                   20   withholdings to Plaintiffs’ discovery requests.
                   21         Defendants also fail to meet their burden to withhold information from CBP’s
                   22   TECS Reports. The Holtzer Declaration, ECF No. 133-4, contains no information, as
                   23   it must, about “how disclosure [to Plaintiffs] subject to a carefully crafted protective
                   24   order would create a substantial risk of harm to significant governmental or privacy
                   25   interests.” Maria Del Socorro Quintero Perez, CY v. United States, 2016 WL 362508,
                   26   at *4 (S.D. Cal. Jan. 29, 2016). The harms discussed in the declaration, see Holtzer
                   27   Decl. ¶¶ 9-10, 12-13, ECF No. 133-4, depend entirely on speculation that Plaintiffs
                   28   may make unauthorized disclosures of the information contained in the TECS
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                    1   Reports. But that is exactly what the Protective Order was designed to prevent, and
                    2   the Holtzer Declaration nowhere accounts for that fact. Without any explanation as
                    3   to why disclosure pursuant to the Protective Order would “create a substantial risk of
                    4   harm,” Defendants cannot justify the privilege.2
                    5         Nor can the declaration from a Special Agent of the FBI, see McQueen Decl.,
                    6   ECF No. 133-3, satisfy Defendants’ burden because the TECS Reports are CBP
                    7   documents. The FBI is not “the department with control over” the reports and is
                    8   thus unable to assert the privilege over them. Hereford v. City of Hemet, 2023 WL
                    9   6813740, at *11 (C.D. Cal. Sept. 14, 2023) (emphasis added); see Maria Del Socorro,
                   10   2016 WL 362508, at *2 (agency’s declarant must affirm that the agency “generated
                   11   or collected the material in issue”). Indeed, Defendants acknowledge that the TECS
                   12   Reports belong to CBP, not the FBI. See Def. ROG Resp., ECF No. 120-7 at 9 (“CBP
                   13   owns and operates TECS.”). Defendants counter by citing caselaw holding that the
                   14   law enforcement privilege “may be invoked by an appropriate agency official instead
                   15   of a department head.” Opp. 8 n.2 (cleaned up). But none of the cases Defendants
                   16   cite—and none of the cases referenced therein—involve an assertion of the privilege
                   17   by an individual from an entirely different agency than the one that produced the
                   18   documents and withheld the information under the privilege.3
                   19         Finally, Defendants’ assertion of the privilege over TECS fields that address
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                        2
                   21     The McQueen Declaration, which the Court should decline to consider for the
                        reasons discussed infra, states that no protective order, “[r]egardless of the terms,”
                   22   could address the potential risk from the disclosure of certain fields in TECS
                   23   Reports. McQueen Decl. ¶ 14. But its justification—that it can be impossible to
                        detect unauthorized disclosure, id.—is conclusory and sweeps far too broadly. If
                   24   accepted, it would mean that protective orders can never mitigate the risk of
                   25   disclosure. But protective orders often provide a basis to reject the law enforcement
                        privilege. See Mot. 8; Garcia, 2016 WL 9107424.
                   26   3
                          See United States v. City of L.A., 2023 WL 6370887, at *6 (C.D. Cal. Aug. 28,
                   27   2023) (privilege asserted by HUD’s deputy general counsel over HUD materials);
                        Landry v. FDIC, 204 F.3d 1125, 1136 (D.C. Cir. 2000) (privilege asserted by an
                   28   FDIC regional director over documents withheld by the FDIC).
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                    1   the existence of other reports, Opp. 13, is undercut by their declarant’s statements
                    2   that this information is not privileged and Defendants “plan” to remove redactions,
                    3   Holtzer Decl. ¶ 14. The Court should order disclosure of the withheld information.
                    4       IV.   Plaintiffs’ need for the withheld information overcomes the privilege.
                    5         In any event, Plaintiffs’ need for the withheld information overcomes the
                    6   government’s interest in nondisclosure. Mot. 12–15. Defendants claim, incorrectly,
                    7   that Plaintiffs must show a “compelling” need for the supposedly privileged
                    8   information. Opp. 9–10. But in the few cases in this district that have recognized the
                    9   privilege, that is not the standard for disclosure. Instead, Plaintiffs must only show
                   10   that “‘the potential benefits of disclosure outweigh the potential disadvantages’” for
                   11   the privilege to be “set aside.” Al Otro Lado, Inc. v. Wolf, 2020 WL 3487823, at *3
                   12   (S.D. Cal. June 26, 2020). This balancing test is moderately pre-weighted in favor of
                   13   disclosure, Hereford, 2023 WL 6813740, at *4,4 and Plaintiffs easily clear that bar.
                   14         Defendants contend that Plaintiffs must “specifically describe” the information
                   15   they seek to unveil. Opp. 10. But here too no such requirement exists. With respect
                   16   to Defendants’ interrogatory responses, the reason is apparent: Plaintiffs have no way
                   17   of knowing what information Defendants claimed as privileged and withheld. Thus,
                   18   Defendants must supplement their responses to the interrogatories without
                   19   withholding information as law enforcement privileged, and may do so under the
                   20   Protective Order.
                   21         As Plaintiffs have explained, the TECS records at issue are several years old,
                   22   and there is no indication that Plaintiffs are under investigation. Mot. 12. Although
                   23   Defendants try to minimize the significance of these facts, Opp. 11–12, they weigh
                   24   heavily against the application of the privilege, particularly over information about
                   25   Plaintiffs themselves. See, e.g., Hereford, 2023 WL 6813740, at *17 (characterizing
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                        4
                   27    Defendants’ contention that the “official information privilege” is distinct from the
                        “law enforcement privilege” is incorrect. See Roy v. Cnty. of L.A. 2018 WL 914773,
                   28   at *12 (C.D. Cal. Feb. 7, 2018).
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                    1   privilege as “ongoing investigation privilege”; rejecting declaration that “offer[ed]
                    2   no indication of an anticipated end date” to the investigation); see also Mot. 12.
                    3            Finally, even if Plaintiffs were required to show a “compelling need” for the
                    4   purportedly privileged information, Opp. 12, they have done so. The TECS Reports
                    5   are highly probative because they are the main records of Plaintiffs’ secondary
                    6   inspections from Defendants’ perspective. Plaintiffs cannot obtain this official
                    7   accounting of their secondary inspections from any other source. Thus, “Plaintiffs’
                    8   need for this information weighs heavily against defendants’ privilege claims.” Doe
                    9   1 v. McAleenan, 2019 WL 4235344, at *6 (N.D. Cal. Sept. 6, 2019).
                   10            Furthermore, Plaintiffs’ interrogatories seek information that go to the heart of
                   11   their claims. For example, Interrogatory No. 2 asks Defendants to describe why they
                   12   asked Plaintiffs religious questions. See ROG Resp., ECF No. 118-4 at 5–6. But
                   13   Defendants refused to provide a complete answer on the basis of the privilege. Id.
                   14   (objecting to providing “any response to the interrogatory because it solely seeks
                   15   information protected by” the privilege, except as included in non-privileged
                   16   documents). Additionally, Interrogatory No. 3 asks Defendants to identify and
                   17   describe the documents that contributed to their decision to ask Plaintiffs the religious
                   18   questions. Id. Defendants refused to provide “any response to this interrogatory”
                   19   based on the law enforcement privilege—even though, again, this information is
                   20   highly relevant and not otherwise obtainable. Id.5
                   21            Thus, Plaintiffs clearly have a compelling need for the information they seek.6
                   22   Defendants should not be permitted to obfuscate it with the so-called privilege.
                   23       V.      Conclusion
                   24            Plaintiffs respectfully request that the Court grant their Motion to Compel.
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                        5
                          The same can be said for the additional 14 ROGs and 25 RFPs for which
                   26   Defendants similarly claimed the privilege. Mot. 3, 5, 10, 15.
                        6
                   27      While Plaintiffs appreciate Defendants’ commitment to disclose the “Chief
                        Council” [sic] field, Opp. 12, they retain a compelling need for the additional
                   28   information in the TECS Reports.
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